SO ORDERED.

SIGNED May 29, 2018.



                                                               ________________________________________
                                                               ROBERT SUMMERHAYS
                                                               UNITED STATES BANKRUPTCY JUDGE

         ____________________________________________________________
                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

IN RE:                                                                  CASE NO. 17-51014

KNIGHT ENERGY HOLDINGS, LLC, ET AL.1                                    (JOINTLY ADMINISTERED)

         DEBTORS                                                        CHAPTER 11

                                                                        JUDGE ROBERT SUMMERHAYS


           ORDER GRANTING DEBTORS’ OBJECTION TO PROOFS OF CLAIM
             NUMBERS 129 (CASE NO. 17-51014) AND 14 (CASE NO. 17-51027)
                   FILED BY AIG PROPERTY CASUALTY, INC.




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, are
Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667) (Case No. 17-51015); Knight
Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well Services, LLC (4156) (Case No. 17-
51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training Management, LLC, (0510) (Case No. 17-
51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight Information Systems, LLC (9787) (Case No. 17-51021);
El Caballero Ranch, Inc. (7345) (Case No. 17-51022); Rayne Properties, LLC (7235) (Case No. 17-51023); Knight Aviation,
LLC (3329) (Case No. 17-51024); Knight Research & Development, LLC (3760) (Case No. 17-51025); Knight Family
Enterprises, LLC (7190) (Case No. 17-51026); HMC Leasing, LLC (0814) (Case No. 17-51027) and HMC Investments,
LLC (8254) (Case No. 17-51029). The Debtors’ service address is 2727 SE Evangeline Thruway, Lafayette, Louisiana
70508 other than Knight Manufacturing, LLC and Advanced Safety & Training Management, LLC. Knight Manufacturing,
LLC’s service address is 2810-A Melancon Road, Broussard, Louisiana 70518 and Advanced Safety & Training
Management, LLC’s service address is 2725 SE Evangeline Thruway, Lafayette, Louisiana 70508.

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         Considering the Objection to Proofs of Claim Numbers 129 (Case No. 17-51014) and 14

(Case No. 17-51027) Filed by AIG Property Casualty, Inc. [Dkt. No. 711] (“Objection”)2 filed

by Knight Energy Holdings, LLC; Knight Oil Tools, LLC; Knight Manufacturing, LLC; KDCC,

LLC, f/k/a Knight Well Services, LLC; Tri-Drill, LLC; Advanced Safety & Training

Management, LLC; Knight Security, LLC; Knight Information Systems, LLC; El Caballero

Ranch, Inc.; Rayne Properties, LLC; Knight Aviation, LLC; Knight Research & Development,

LLC; Knight Family Enterprises, LLC; HMC Leasing, LLC; and HMC Investments, LLC, as

reorganized debtors, no objections or responses being filed, service being proper and sufficient,

and good cause existing to grant same;

         IT IS HEREBY ORDERED that the Objection is SUSTAINED;

         IT IS FURTHER ORDERED that Proof of Claim Number 129 filed by AIG Property

Casualty, Inc. against Knight Energy Holdings, LLC in Case No. 17-51014 is hereby disallowed

and expunged in its entirety; and

         IT IS FURTHER ORDERED that Proof of Claim Number 14 filed by AIG Property

Casualty, Inc. against HMC Leasing, LLC in Case No. 17-51027 is hereby disallowed and

expunged in its entirety.

                                                         ###

This order was prepared and is being submitted by:

/s/ Cherie Dessauer Nobles
William H. Patrick, III (La. Bar No. 10359)
Tristan E. Manthey, (La. Bar No. 24539)
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Counsel for Debtors

2 All capitalized terms not defined herein are as defined in the Objection.

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